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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


 UNITED STATES OF AMERICA,                               Case No. 1:20CR239-2

        v.                                               Honorable T.S. Ellis, III

 EL SHAFEE ELSHEIKH,                                     Trial: March 29, 2022
                 Defendant.

        DEFENDANT’S RESPONSE TO GOVERNMENT’S MEMORANDUM
      CONCERNING THE ADMISSIBILITY OF OUT-OF-COURT STATEMENTS

       El Shafee Elsheikh, by counsel, submits this response to the government’s Memorandum

concerning the admissibility of certain out-of-court statements purportedly made by deceased or

missing hostages. No such statements have as yet been identified by the government. See Dkt.

218. In support thereof, Mr. Elsheikh states as follows:

                                          DISCUSSION

       The government’s memorandum indicates that at trial it will seek to introduce the

following “general categories” of out-of-court statements: “ (1) statements by the hostages to

their fellow captives about the circumstances of their own abductions and captivity, their

physical and mental state, including descriptions of pain and injury, and statements concerning

observations about the individuals holding them whom the hostages dubbed “the Beatles,” or

background information the hostages learned about the Beatles; (2) video and audio recordings

of the hostages that were sent to the hostages’ families as proof of life; (3) responses the hostages

made to demands by the Beatles for information relating to the ransom negotiations such as

email addresses, contact details, and answers to proof-of-life questions, [] (4) letters written by

the hostages while in captivity, [and (5)] statements published by ISIS through its media

organization.” Dkt. 218, 2-3.

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        The government maintains that it is premature to attempt to identify every out-of-court

statement it intends to introduce at trial, and its’ memorandum only specifically identifies two

such statements. Id. at 5, 15. Given the general nature of the government’s memorandum,

Elsheikh will attempt to address the government’s arguments in similarly general terms.

   I.      The Confrontation Clause

        The Supreme Court has repeatedly stressed, “[t]he Sixth Amendment's Confrontation

Clause confers upon the accused, in all criminal prosecutions, the right to be confronted with the

witnesses against him[,]” Bullcoming v. New Mexico, 564 U.S. 647 (2011), and “the text of the

Sixth Amendment does not suggest any open-ended exceptions from the confrontation

requirement to be developed by the courts.” Id. at 662 (internal citations omitted). Accordingly,

providing that the accused has right to confront and cross-examine witnesses against him, the

Confrontation Clause applies not only to in-court testimony, but also to out-of-court statements

introduced at trial, regardless of admissibility of statements under the law of evidence. See

Crawford v. Washington, 541 U.S. 36, 50-51 (2004).

        Admittedly, not all hearsay implicates the “Sixth Amendment's core concerns[;]” only

those out of court statements which carry the hallmarks of “ bear[ing] testimony” concern the

Sixth Amendment’s confrontation clause. Crawford, 541 U.S. at 51. In attempting to define the

parameters of “testimonial” statements, the Supreme Court has held:

        “Various formulations of this core class of “testimonial” statements exist: “ex parte in-
        court testimony or its functional equivalent—that is, material such as affidavits, custodial
        examinations, prior testimony that the defendant was unable to cross-examine, or similar
        pretrial statements that declarants would reasonably expect to be used prosecutorially”;
        “extrajudicial statements ... contained in formalized testimonial materials, such as
        affidavits, depositions, prior testimony, or confessions”; “statements that were made under
        circumstances which would lead an objective witness reasonably to believe that the
        statement would be available for use at a later trial[.]” These formulations all share a
        common nucleus and then define the Clause's coverage at various levels of abstraction
        around it.”

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Id. at 51–52 (internal citations omitted) (emphasis added).

       In more recent cases, the Supreme Court has attempted to further explain what it means

for a statement to be “testimonial.” In Davis v. Washington, the Court announced what has

become known as the “primary purpose” test: “[statements] are testimonial when the

circumstances objectively indicate that there is no [] ongoing emergency and that the primary

purpose of the interrogation is to establish or prove past events potentially relevant to later

criminal prosecution.” 547 U.S. 813, 822 (2006); Michigan v. Bryant, 562 U.S. 344, 359 (2011)

(“[w]here no such primary purpose exists, the admissibility of a statement is the concern of state

and federal rules of evidence, not the Confrontation Clause.”).

       In Ohio v. Clark, the Supreme Court recently grappled with the question of whether

statements to persons other than law enforcement officers or governmental officials are subject

to the Confrontation Clause. Ohio v. Clark, 576 U.S. 237 (2015). In Clark, a preschool teacher

noticed facial injuries on one of her three-year-old students. Id. at 240. When the teacher asked

about the injuries, the student indicated that his mother’s boyfriend caused them. Id. The teacher

forwarded her concerns to a child abuse hotline which resulted in the arrest of the defendant for

child abuse. Id. 241. At trial, the district court ruled that the three-year-old child was

incompetent to testify and refused to exclude the child's out-of-court identification of the

defendant as his abuser. The defendant was eventually found guilty at trial. Id. 242. The

Supreme Court was confronted with a “question [that it had] repeatedly reserved: whether

statements to persons other than law enforcement officers are subject to the Confrontation

Clause.” Id. at 246.

        The Court held as a general matter that “[b]ecause at least some statements to individuals

who are not law enforcement officers could conceivably raise confrontation concerns, we decline

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to adopt a categorical rule excluding them from the Sixth Amendment's reach.” Clark, 576 U.S.

at 246. The Court then examined the primary purpose of the exchange between the child and his

teacher. Id. at 246 (“considering all the relevant circumstances here, [the child]’s statements

clearly were not made with the primary purpose of creating evidence for [defendant]’s

prosecution”). Critically important however, the Court based its’ “primary purpose” analysis on

a host of factors that considered the context and circumstances of both the speaker and his

surroundings:

       “There is no indication that the primary purpose of the conversation was to gather evidence
       for [defendant’s] prosecution. On the contrary, it is clear that the first objective was to
       protect [the child]. At no point did the teachers inform [child] that his answers would be
       used to arrest or punish his abuser. [The child] never hinted that he intended his statements
       to be used by the police or prosecutors. And the conversation between [child] and his
       teachers was informal and spontaneous. The teachers asked [child] about his injuries
       immediately upon discovering them, in the informal setting of a preschool lunchroom and
       classroom, and they did so precisely as any concerned citizen would talk to a child who
       might be the victim of abuse… [The child]'s age fortifies our conclusion that the statements
       in question were not testimonial. Statements by very young children will rarely, if ever,
       implicate the Confrontation Clause. Few preschool students understand the details of our
       criminal justice system.”

Id. at 247-48.

       While it may be the case that many of the former hostages’ hearsay statements were not

made with the “primary purpose” of “establish[ing] or prov[ing] past events potentially relevant

to later criminal prosecution, it is impossible for this Court to perform its’ vital gatekeeping

function without knowledge of the statements themselves and the circumstances under which

they were made. See Davis, 547 U.S. 813, 822 (2006).

       As such, until the government identifies the hearsay statements of the deceased hostages

that it proposes to introduce, such statements must be excluded at trial.




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    A. Forfeiture-by-wrongdoing—Rule 804(b)(6)

        It is also the case that a criminal defendant’s confrontation rights are subject to the

forfeiture-by-wrongdoing exception, “a common law doctrine that allows the introduction of

unconfronted testimonial statements ‘where the defendant ha[s] engaged in wrongful conduct

designed to prevent a witness's testimony.’” United States v. Jackson, 706 F.3d 264, 267 (4th

Cir. 2013) (citing Giles v. California, 554 U.S. 353, 366 (2008)) (emphasis added). However,

“in order for the exception to apply, the desire to keep the witness from testifying must be a

reason for procuring the unavailability of the declarant, but not necessarily the only motivation.”

United States v. Adoma, 781 Fed. Appx. 199, 204 (4th Cir. 2019) (emphasis added); United

States v. Becker, 81 M.J. 483, 489 (C.A.A.F. 2021) (requiring that “the party caused the witness's

unavailability with the intent to make that witness unavailable, i.e., that the accused intended

their conduct to prevent the witness from testifying against them in court”); United States v.

Gray, 405 F.3d 227, 241 (4th Cir. 2005) (before such evidence is permitted to come before a

jury, the district court must find, by the preponderance of the evidence, that the exception

applies.) 1

        None of the hostage killings was designed to prevent a witness’s testimony. As the

government readily admits, ISIS used the murders of the various hostages for their own

propaganda purposes. Indeed, it is expected that the government will attempt to introduce ISIS

publications and other “official” ISIS media material that not only boasted about, but justified

the murders of the various hostages. Indeed, in the hostage execution film of                     , the



1
 Regardless of whether the former hostages’ out-of-court statements are testimonial, Fed. R.
Evid. 804(b)(6) provides an independent basis for the admission of such statements.
Accordingly, the Court must make an independent ruling on their admissibility under Fed. R.
Evid. 804(b)(6).


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hostage takers,                               were told

                     .” The alleged hostage specifically linked their demand to “keep silent” to

achieving their objective—the payment of ransom monies: “



                                                 .” Separately, the family of              was told

by            alleged captors that: “




                        ’”

       As evident from the ransom demands the government intends to introduce at trial, and the

numerous released hostages expected to testify, the captors were simply interested in the

payment of monies for the furtherment of their cause. As horrific as these murders were, ISIS

did not perpetrate these crimes with an eye towards preventing witnesses from testifying at a

criminal trial in the United States. Rather, these crimes were committed to further ISIS’s

battlefield and propaganda objectives. Simply put, if the hostages’ captors were at all interested

in ensuring that no witness would be available to testify against them later at trial, they would

have never released a single hostage who could later testify—as they plan to do here.

       Moreover, the facts in, United States v. Jackson 706 F.3d 264 (4th Cir. 2013), the

principal case on which the government relies, are markedly different from the facts in this case.

In Jackson, the defendant—who was on trial for murder and various other offenses—argued that

the introduction of incriminating statements made by the murder victim was error because the

statements did not fall within the forfeiture-by-wrongdoing exception to the Confrontation

Clause. Id. at 265. In its pre-trial motion seeking to admit the murder victim’s statement, the



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government claimed that the defendant had “waived his right to confront any of [the victim]’s

out-of-court statements by killing [the victim] with the intent, at least in part, of securing his

unavailability as a witness.” Id. at 266. In granting the government’s motion, the district court

found that “that [defendant]'s desire to silence [victim] was a ‘precipitating’ and ‘substantial

reason’ for the murder and concluded that any other motives for killing [victim] did not preclude

application of the forfeiture-by-wrongdoing exception.” Id. at 266–67.

       In upholding the district court’s decision, the Fourth Circuit held that there was “ample”

support in the record to justify the district court’s conclusion that preventing the victim from

testify was a “precipitating” and “substantial” reason why the defendant partook in the murder.

Id. at 269. Specifically, the Fourth Circuit cited the fact that (1) the defendant “told others that

[the victim] ‘was an informant trying to bring down [defendant] and his brothers’ and that [the

victim] ‘deserved’ to be killed,” and (2) the victim’s murder occurred within a short time after

defendant learned that the victim was released from jail as an apparent reward for his

cooperation, as “ample” basis for the district court’s ruling. Id.

       There is simply no evidence in the current record establishing that a purpose of the

hostages’ murders was to prevent them from later testifying in a criminal trial. See United States

v. Becker, 81 M.J. 483, 486–87 (C.A.A.F. 2021) (noting that the Supreme Court under Giles v.

California, 554 U.S. 353, 366 (2008) requires the district court conduct a subjective inquiry, not

objective inquiry, into the intent of the party who wrongfully caused the unavailability)

(emphasis added); see also United States v. Dinkins, 691 F.3d 358, 383 (4th Cir. 2012). As such,

these statements must be excluded as evidence at trial.




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   II.      Exceptions to the Rule Against Hearsay

         The government has loosely claimed that “some statements [of the unreleased hostages]

are admissible as present sense impressions, excited utterances, or as statements of mental,

physical, or emotional conditions.” Dkt. 218, p. 10. Without knowing the specific statements

that the government seeks to introduce and the circumstances under which each of the statements

was made, the Court and Mr. Elsheikh are left to speculate regarding the applicability of the

aforementioned hearsay exceptions. To the extent possible, each exception will be generally

addressed in-turn.

   A. Present Sense Impression—Rule 803(1)

         The government argues that statements “by some hostages to other regarding the

circumstances of their detentions by the hostage-takers, including descriptions of their captors,

the conditions in which they were being held, [and] specific events that happened during their

detention,” (Dkt. 218, p. 10) are admissible under Fed. R. Evid. 803(1)—present sense

impression. A present sense impression is a statement “describing or explaining an event or

condition made while or immediately after the declarant perceived it.” Fed. R. Evid. 803(1). To

be admissible under this exception, the declarant “must utter the hearsay contemporaneously or

substantially contemporaneously to the event.” United States v. Jones, 742 F. App'x 710, 712

(4th Cir. 2018); United States v. Jackson, 124 F.3d 607, 618 (4th Cir.1997). The crucial

provision of this exception is immediacy, which operates to negate the likelihood of a deliberate

or conscious misrepresentation. See First State Bank of Denton v. Md. Cas. Co., 918 F.2d 38, 41

(5th Cir.1990); Charles E. Wagner, 2 Federal Rules of Evidence Case Law Commentary 589

(2001–2002 ed.).




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        However, at present, the government as the proponent of the proffered hearsay

statements, has failed to lay an adequate foundation for the hearsay statements it intends to

introduce. For example, in describing one of his captors, released hostage                      ,

stated that



                                            .”                   , another released hostage, also

recounted a conversation he had with                  during which he stated: “



                                                                                            ”

        Nothing about either of these statements suggests that it was made while                    was

“describing or explaining an event [] while or immediately after the [he] perceived it.” See Fed.

R. Evid. 803(1). Given the host of other hearsay statements that these, and other released

hostages, are expected to offer at trial, the government has come woefully short of meeting its

burden under Fed. R. Evid. 803(1), and as such, the statements must be excluded.

    B. Excited Utterance—Rule 803(2)

        An exited utterance is a “statement relating to a startling event or condition, made while

the declarant was under the stress of excitement that it caused.” Fed. R. Evid. 803(2). To qualify

under the excited utterance exception, “(1) the declarant must have experienced a startling event

or condition; (2) she must have related the statement while under the stress or excitement of that

event or condition, not from reflection; and (3) the statement or utterance must have related[ed]

to the startling event or condition.” United States v. Jennings, 496 F.3d 344, 349 (4th Cir. 2007)

(internal citations omitted). The key to this exception is that the statement must be made

contemporaneously with the excitement of the startling event. See United States v. Wesela, 223



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                                         ”—Interview of                                        Police
        Interview

        Rather than describing present conditions or declarant's present beliefs or state of mind,

the statement is a declaration “looking backward,” describing a declarant’s memories and beliefs

about past occurrences and the conditions under which certain prior treatment occurred.

        A statement may also fail to meet the requirements of Fed. R. Evid 803(3) when a

declarant has time to reflect because the proffered statement may reflect the declarant's then

existing state of mind as to a past fact as opposed to a present existing fact. United States v.

Lentz, 282 F. Supp. 2d 399, 411, aff'd, 58 Fed. Appx. 961 (4th Cir. 2003).

        “The declarant's statement of mind must [also] be relevant to some issue in the case

before such testimony can be admitted under Rule 803(3).” United States v. Srivastava, 411 Fed.

Appx. 671, 684 (4th Cir. 2011) (internal citations omitted). “Where state of mind itself is in

issue, the court must determine if the declarant's state of mind at the time of the declaration is

relevant to the declarant's state of mind at the time at issue.” United States v. Ponticelli, 622 F.2d

985, 991 (9th Cir.1980) (emphasis added). The state of mind of the defendant, not the hostages

is the “state of mind” at issue in this case.

        In this example, it is unclear who the actual declarant was, or how much time had elapsed

between the declarant’s then existing state of mind and its retelling to               . The same

questions can be asked of many other hearsay statements by released hostages that the

government will undoubtedly seek to introduce at trial. As the proponent of these statements, the

government has thus far failed to meet its burden to establish their admissibility under Fed. R.

Evid. 803(3), and as such must be excluded at trial.




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   D. Residual Hearsay Exception—Rule 807(a)

       The government also seeks to introduce all of the aforementioned categories of

statements under the residual hearsay exception in Fed. R. Evid 807(A). A statement is

admissible hearsay under the residual exception to the hearsay rule if “the statement is supported

by sufficient guarantees of trustworthiness—after considering the totality of circumstances under

which it was made and evidence, if any, corroborating the statement; and it is more probative on

the point for which it is offered than any other evidence that the proponent can obtain through

reasonable efforts.” Fed. R. Evid 807 (1)-(2). In applying Rule 807, “[c]ourts must use caution

when admitting evidence under [Rule 807], for an expansive interpretation of the residual

exception would threaten to swallow the entirety of the hearsay rule.” United States v. Tome, 61

F.3d 1446, 1452 (10th Cir. 1995); United States v. Dunford, 148 F.3d 385, 394 (4th Cir.1998).

See also In re Katzburg, 326 B.R. 603, 605 (Bankr.D.S.C.2004) (“The legislative history for

Rule 807 provides that the residual exception is to be used very rarely, and only in exceptional

circumstances.”); United States v. Ealy, No. 1:00CR00104, 2002 WL 1205035, at * 3 (W.D.Va.

June 3, 2002) (“The residual hearsay exception is intended to be used rarely and only in

exceptional circumstances.”); Boca Investerings P'ship v. United States, 128 F.Supp.2d 16, 22

(D.D.C.2000) (“The residual exception to the hearsay rule is intended to be used very sparingly,

and only when there exists equivalent circumstantial guarantees of trustworthiness.”)

       As such and given Rule 807’s potential to “swallow the entirety of the hearsay rule,” a

reviewing court “when determining the admissibility of a [statement under Rule 807], must

examine it sentence by sentence and rule upon the admissibility of each “single declaration or

remark.” United States v. Canan, 48 F.3d 954, 960 (6th Cir. 1995) (internal citations omitted).

Further, as the Advisory Committee Notes to Fed. R. Evid 807 make clear, “the rule provides



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that the focus for trustworthiness is on circumstantial guarantees surrounding the making of the

statement itself, as well as any independent evidence corroborating the statement. The

credibility of the witness relating the statement is not a part of either enquiry.” Fed. R. Evid. 807

advisory committee’s notes.

           Until the government establishes the requisite “indicia of reliability” of the various

hearsay statements it seeks to admit, the hearsay statements of the deceased hostages must be

excluded as evidence from trial. See Crawford v. Washington, 541 U.S. 36 (2004) (“when a

hearsay declarant is not present for cross-examination at trial, his statement is admissible only if

it bears adequate ‘indicia of reliability’”).

    III.      Statements By The ISIS Media Bureau & Co-Conspirator Admissions Exception

           Finally, the government is seeking to introduce various “statements”—videos and

magazine articles—produced as propaganda by the ISIS Media Bureau—as admissions of a co-

conspirator under Fed. R. Evid. 801(d)(2)(E). See Dkt. 218, pg. 13. In order to admit a

statement pursuant to 801(d)(2)(E), “the moving party must show that (i) a conspiracy did, in

fact, exist, (ii) the declarant and the defendant were members of the conspiracy, and (iii) the

statement was made in the course of, and in furtherance, of the conspiracy.” United States v.

Graham, 711 F.3d 445, 453 (4th Cir. 2013). While the government is correct that a trial court is

not required to hold a separate hearing to determine whether a conspiracy exists before admitting

statements under the rule, “the existence of the three prongs of admissibility for coconspirator

statements [] must be supported by a preponderance of the evidence” in order for the supposed

conspiratorial statements to be admitted. United States v. Blevins, 960 F.2d 1252, 1255 (4th

Cir.1992). The government, as the proponent of such statements, “must demonstrate the

existence of the conspiracy by evidence extrinsic to the hearsay statements.” United States v.



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Stroupe, 538 F.2d 1063, 1065 (4th Cir. 1976); see also United States v. Mitchell, 596 F.3d 18, 23

(1st Cir. 2010) (noting that “[t]he proponent of the statement must introduce some extrinsic

evidence ... sufficient to delineate the conspiracy and corroborate the declarant's and the

defendant's roles in it”) (internal quotation marks omitted).

       To support its’ argument for admission, the government has alleged that “the defendant

joined a conspiracy to promote the growth and profile of a terrorist organization (i.e. ISIS)

through criminal acts and violence. To that end, the defendant and his co-conspirators kidnapped,

tortured, and unlawfully detained numerous individuals to acquire ransom money for ISIS…”

Dkt. 218, pg. 13. Apart from this over-arching allegation, the government points to no extrinsic

evidence that the hostage takers and the ISIS media bureau were part of a common conspiracy,

no less that Mr. Elsheikh was a member of the same. Bourjaily v. United States, 483 U.S. 171,

189 (1987) (“[t]he final feature of the co-conspirator hearsay exemption, the independent-

evidence requirement, directly corresponds to the agency concept that an agent's statement

cannot be used alone to prove the existence of the agency relationship”).

       Until such time as the government can establish by a preponderance of the evidence that

a conspiracy existed between the ISIS media bureau and the hostage takers, and that Mr.

Elsheikh was a member of that conspiracy the “statements” made by the ISIS media bureau

should be excluded as evidence at trial.




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                                        CONCLUSION

       For the aforementioned reasons, the government’s memorandum seeking to introduce

various out-of-court statements by deceased hostages is premature and should be denied.

                                                    Respectfully Submitted,

                                                    EL SHAFEE ELSHEIKH,
                                                    By Counsel

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                                CERTIFICATE OF SERVICE

         I hereby certify that on this 11th day of March 2022, I filed the foregoing pleading
through the ECF system, which shall then send an electronic copy of this pleading to all parties
in this action.

                                                        /s/
                                                    Zachary A. Deubler, Esq.

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